        Case 1:22-cv-04149-WMR Document 58 Filed 05/31/23 Page 1 of 7




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

RAMONA THURMAN BIVINS,                        )
                                              )
       Plaintiff,                             )
                                              )
v.                                            )
                                              )
FELICIA FRANKLIN, in her individual           )      CIVIL ACTION FILE NO.:
and official capacities;                      )      1:22-cv-04149-WMR
ALIEKA ANDERSON, in her individual            )
and official capacities;                      )
GAIL HAMBRICK, in her individual              )
and official capacities; and                  )
CLAYTON COUNTY, GEORGIA,                      )
                                              )
       Defendants.                            )

     DASHA M. JACKSON’S MOTION TO WITHDRAW AS COUNSEL
               FOR DEFENDANT ALIEKA ANDERSON

       Pursuant to Local Rule 83.1(E)(2), Dasha M. Jackson files this Motion to

Withdraw as counsel for Defendant Alieka Anderson. Randall C. Farmer of Gregory,

Doyle, Calhoun & Rogers will continue to represent Defendant Anderson in this

action. As such, Ms. Jackson’s withdrawal will not affect any deadlines or hearings

in this case.

       The Clerk’s office is requested to make such changes to the docket and to the

electronic notification system as are necessary to reflect this withdrawal.
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      Wherefore, the undersigned counsel respectfully requests that Dasha Jackson

be permitted to withdraw as counsel for Defendant Alieka Anderson in this matter.

A proposed order is attached for the Court’s convenience.

      Respectfully submitted this 31st day of May, 2023.

                         GREGORY, DOYLE, CALHOUN & ROGERS, LLC
                         Attorneys for Defendant Alieka Anderson

                         /s/ Dasha M. Jackson
                         Dasha M. Jackson
                         Georgia Bar No. 386323

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E-mail: djackson@gdcrlaw.com




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                      CERTIFICATE OF COMPLIANCE

      I hereby certify that on this 31st day of May, 2023, I electronically filed the

foregoing MOTION TO WITHDRAW AS COUNSEL FOR DEFENDANT

ALIEKA ANDERSON using CM/ECF. By signature below, counsel certifies that

the foregoing document was prepared in Times New Roman, 14 Point font, in

compliance with Local Rule 7.1(D).


                         GREGORY, DOYLE, CALHOUN & ROGERS, LLC
                         Attorneys for Defendant Alieka Anderson

                         /s/ Dasha M. Jackson
                         Dasha M. Jackson
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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

RAMONA THURMAN BIVINS,                       )
                                             )
         Plaintiff,                          )
                                             )
v.                                           )
                                             )
FELICIA FRANKLIN, in her individual          )      CIVIL ACTION FILE NO.:
and official capacities;                     )      1:22-cv-04149-WMR
ALIEKA ANDERSON, in her individual           )
and official capacities;                     )
GAIL HAMBRICK, in her individual             )
and official capacities; and                 )
CLAYTON COUNTY, GEORGIA,                     )
                                             )
         Defendants.                         )

                             CERTIFICATE OF SERVICE

         This is to certify that I have this day filed the foregoing MOTION TO

WITHDRAW AS COUNSEL FOR DEFENDANT ALIEKA ANDERSON

using CM/ECF, which will automatically send e-mail notification of such filing to

the following attorneys of record:

         Edward D. Buckley        Arash A. Sabzevari John D. Bennett
           Paul J. Pontrelli        Jack R. Hancock Kirsten S. Daughdril
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        Respectfully submitted this 31st May, 2023.

                            GREGORY, DOYLE, CALHOUN & ROGERS, LLC
                            Attorneys for Defendant Alieka Anderson

                            /s/ Dasha M. Jackson
                            Dasha M. Jackson
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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
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RAMONA THURMAN BIVINS,                    )
                                          )
      Plaintiff,                          )
                                          )
v.                                        )
                                          )
FELICIA FRANKLIN, in her individual       )      CIVIL ACTION FILE NO.:
and official capacities;                  )      1:22-cv-04149-WMR
ALIEKA ANDERSON, in her individual        )
and official capacities;                  )
GAIL HAMBRICK, in her individual          )
and official capacities; and              )
CLAYTON COUNTY, GEORGIA,                  )
                                          )
      Defendants.                         )
                           [PROPOSED] ORDER

      This action is before the Court on Dasha M. Jackson’s Motion to Withdraw

as Counsel for Defendant Alieka Anderson. Ms. Jackson is no longer with the law

firm of Gregory, Doyle, Calhoun & Rogers. Randall C. Farmer of Gregory, Doyle,

Calhoun & Rogers will continue to represent Defendant Alieka Anderson.


      Accordingly, Ms. Jackson’s Motion to Withdraw is hereby GRANTED. The

Clerk is DIRECTED to terminate Ms. Jackson as counsel for Defendant Alieka

Anderson.

                        SO ORDERED this ______ day of ________________, 2023
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                           _____________________________________
                           UNITED STATES JUDGE
                           NORTHERN DISTRICT OF GEORGIA




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